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                        UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF NEW YORK


ANTHONY PAUWELS, Individually and             Case No.
On Behalf of All Others Similarly Situated,
                                              CLASS ACTION COMPLAINT FOR
                             Plaintiff,       VIOLATIONS OF THE FEDERAL
                                              SECURITIES LAWS
              v.

BIT DIGITAL, INC., MIN HU, and ERKE           JURY TRIAL DEMANDED
HUANG,

                             Defendants.
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       Plaintiff Anthony Pauwels (“Plaintiff”), individually and on behalf of all others similarly

situated, by and through his attorneys, alleges the following upon information and belief, except

as to those allegations concerning Plaintiff, which are alleged upon personal knowledge. Plaintiff’s

information and belief is based upon, among other things, his counsel’s investigation, which

includes without limitation: (a) review and analysis of regulatory filings made by Bit Digital, Inc.

(“Bit Digital” or the “Company”) with the United States (“U.S.”) Securities and Exchange

Commission (“SEC”); (b) review and analysis of press releases and media reports issued by and

disseminated by Bit Digital; and (c) review of other publicly available information concerning Bit

Digital.

                       NATURE OF THE ACTION AND OVERVIEW

       1.       This is a class action on behalf of persons and entities that purchased or otherwise

acquired Bit Digital securities between December 21, 2020 and January 8, 2021, inclusive (the

“Class Period”). Plaintiff pursues claims against the Defendants under the Securities Exchange

Act of 1934 (the “Exchange Act”).

       2.       Bit Digital is a holding company that purports to engage in the bitcoin mining

business through its wholly owned subsidiaries in U.S. and Hong Kong.

       3.       On January 11, 2021, J Capital Research issued a research report alleging, among

other things, that Bit Digital operates “a fake crypto currency business” “designed to steal funds

from investors.” Though the Company claims “it was operating 22,869 bitcoin miners in China,”

J Capital alleged that “is simply not possible” and stated that “[w]e verified with local governments

supposedly hosting the BTBT mining operation that there are no bitcoin miners there.”

       4.       On this news, Bit Digital’s stock price fell $6.27 per share, or 25%, to close at

$18.76 per share on January 11, 2021, on unusually heavy trading volume.



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        5.      Throughout the Class Period, Defendants made materially false and/or misleading

statements, as well as failed to disclose material adverse facts about the Company’s business,

operations, and prospects. Specifically, Defendants failed to disclose to investors: (1) that Bit

Digital overstated the extent of its a bitcoin mining operation; and (2) that, as a result of the

foregoing, Defendants’ positive statements about the Company’s business, operations, and

prospects were materially misleading and/or lacked a reasonable basis.

        6.      As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

in the market value of the Company’s securities, Plaintiff and other Class members have suffered

significant losses and damages.

                                  JURISDICTION AND VENUE

        7.      The claims asserted herein arise under Sections 10(b) and 20(a) of the Exchange

Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the SEC (17

C.F.R. § 240.10b-5).

        8.      This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331 and Section 27 of the Exchange Act (15 U.S.C. § 78aa).

        9.      Venue is proper in this Judicial District pursuant to 28 U.S.C. § 1391(b) and Section

27 of the Exchange Act (15 U.S.C. § 78aa(c)). Substantial acts in furtherance of the alleged fraud

or the effects of the fraud have occurred in this Judicial District. Many of the acts charged herein,

including the dissemination of materially false and/or misleading information, occurred in

substantial part in this Judicial District. In addition, the Company’s principal executive offices are

located in this District.

        10.     In connection with the acts, transactions, and conduct alleged herein, Defendants

directly and indirectly used the means and instrumentalities of interstate commerce, including the



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United States mail, interstate telephone communications, and the facilities of a national securities

exchange.

                                              PARTIES

        11.     Plaintiff Anthony Pauwels, as set forth in the accompanying certification,

incorporated by reference herein, purchased Bit Digital securities during the Class Period, and

suffered damages as a result of the federal securities law violations and false and/or misleading

statements and/or material omissions alleged herein.

        12.     Defendant Bit Digital is incorporated under the laws of Cayman Islands with its

principal executive offices located in Flushing, New York. Bit Digital’s shares trade on the

NASDAQ exchange under the symbol “BTBT.”

        13.     Defendant Min Hu (“Hu”) was the Company’s Chief Executive Officer (“CEO”)

at all relevant times.

        14.     Defendant Erke Huang (“Huang”) was the Company’s Chief Financial Officer

(“CFO”) at all relevant times.

        15.     Defendants Hu and Huang (collectively the “Individual Defendants”), because of

their positions with the Company, possessed the power and authority to control the contents of the

Company’s reports to the SEC, press releases and presentations to securities analysts, money and

portfolio managers and institutional investors, i.e., the market. The Individual Defendants were

provided with copies of the Company’s reports and press releases alleged herein to be misleading

prior to, or shortly after, their issuance and had the ability and opportunity to prevent their issuance

or cause them to be corrected. Because of their positions and access to material non-public

information available to them, the Individual Defendants knew that the adverse facts specified

herein had not been disclosed to, and were being concealed from, the public, and that the positive



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representations which were being made were then materially false and/or misleading. The

Individual Defendants are liable for the false statements pleaded herein.

                                SUBSTANTIVE ALLEGATIONS

                                            Background

       16.       Bit Digital is a holding company that purports to engage in the bitcoin mining

business through its wholly owned subsidiaries in U.S. and Hong Kong.

                                Materially False and Misleading
                           Statements Issued During the Class Period

       17.       The Class Period begins on December 21, 2020. On that day, the Company

announced its revised third quarter 2020 financial results in a press release that stated:

       Financial Highlights for the Third Quarter 2020

                Revenue from bitcoin mining business was $7.91 million.

                The number of bitcoins earned from bitcoin mining business was 739.51.

                The number of miners was 22,869, with 16,865 miners          acquired in the
                 third quarter 2020.

                The net income from continuing operations of $0.10 million was all from
                 bitcoin mining business, compared to the net loss of $1.79 million for the
                 third quarter 2019.

                The net loss from discontinued operations was $0.10 million for the third
                 quarter 2020, as we disposed of peer-to-peer and car rental business in the
                 PRC, compared with the net loss from discontinued operations of $1.22
                 million for the third quarter 2019.

                The net income was $54 and the earnings per share was $0.00 for the third
                 quarter 2020, compared with the net loss of $3.0 million and loss per share
                 of $0.20 for the same period last year.

       Financial Highlights for the Nine Months 2020

                Revenue from bitcoin mining business was $8.60 million.

                The number of bitcoins earned from bitcoin mining business was 814.23.



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                The number of miners was 22,869, all miners acquired in the nine months
                 2020.

                The net loss from continuing operations of $0.73 million was all from
                 bitcoin mining business, compared to $1.79 million for the nine months
                 2019.

                The net loss from discontinued operations was $3.83 million for the nine
                 months 2020, as we provided full impairment on assets for our discontinued
                 peer-to-peer and car rental business in the PRC, compared with the net loss
                 from discontinued operations of $7.68 million for the nine months 2019.

                The net loss was $4.56 million and the loss per share was $0.18 for the nine
                 months 2020, compared with $9.47 million and $0.63 for the same period
                 last year.

                                          *       *       *

       As of September 30, 2020, our hash rate reached 1,250 Ph/s. In December 2020,
       we closed an asset acquisition of 17,996 bitcoin miners with total hash rate of
       1,003.5 Ph/s, worth of $13,902,742, at a consideration of issuance of an aggregate
       of 4,344,711 common shares, par value $0.01 per share, at a per share price of
       $3.20. The closing of the acquisition increased the Company’s total hash rate by
       approximately 1,003.5 Ph/s, from 1,250 Ph/s to 2,253.5 Ph/s. The average energy
       efficiency of these miners is 47.45 (+/-5%) joules per terahash (J/TH). With these
       miners being fully deployed, the total energy efficiency is expected to be decreased
       from 61.88 (+/-5%) J/TH to 55.33 (+/-5%) by 10.59%, consuming 124 megawatts
       of power. The total 17,996 miners acquired in December 2020 were comprised of
       7,025 Antminer S17+, 9,110 Antminer T17, 195 Antminer S17E, 32 Antminer
       S17Pro, 105 Antminer S19Pro, 1,429 Whatsminer M20S and 100 Whatsminer
       M31S.

       As of the date of this Report, we had a total of 40,865 miners, including 7,025
       Antminer S17+, 195 Antminer S17E, 32 Antminer S17Pro, 105 Antminer S19Pro,
       800 Antminer T3, 9,110 Antminer T17, 256 Antminer T17+, 2,200 Whatsminer
       M10, 4,125 Whatsminer M20S, 16,917 Whatsminer M21S and 100 Whatsminer
       M31S, spreading over Xinjiang, Inner Mongolia and Sichuan Provinces, PRC and
       Texas and Nebraska in the United States.

       By December 18, 2020, we have earned an aggregation of 1,331.2 bitcoins and
       recognized unaudited revenues of approximately $16.50 million.

       18.       The above statements identified in ¶ 17 were materially false and/or misleading,

and failed to disclose material adverse facts about the Company’s business, operations, and

prospects. Specifically, Defendants failed to disclose to investors: (1) that Bit Digital overstated

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the extent of its a bitcoin mining operation; and (2) that, as a result of the foregoing, Defendants’

positive statements about the Company’s business, operations, and prospects were materially

misleading and/or lacked a reasonable basis.

                            Disclosures at the End of the Class Period

        19.     On January 11, 2021, J Capital Research issued a research report alleging, among

other things, that Bit Digital operates “a fake crypto currency business” “designed to steal funds

from investors.” Though the Company claims “it was operating 22,869 bitcoin miners in China,”

J Capital alleged that “is simply not possible” and stated that “[w]e verified with local governments

supposedly hosting the BTBT mining operation that there are no bitcoin miners there.”

Specifically, the report stated:

        Fraudulent “mining” operations

        We think the bitcoin business BTBT discloses is completely fraudulent.

        In September 2020, BTBT changed its company name from Golden Bull Limited
        to Bit Digital, Inc. and its ticker from DNJR to BTBT. It announced it would be
        going into bitcoin mining. But without a Chinese-registered entity, that would not
        be legal. Companies are required to show a registration document from a domestic
        legal entity before they can sign a lease or a hosting contract. Yet the company
        clearly claims that it both operates and leases mining facilities in China[.]

        BTBT disclosed that, until September 2020, all its bitcoin mining operations were
        in China.

        “Our mining operations are in Wuhai, Zhundong, Xinlinhot and Sichuan, China.”

        In China, you have to register with the government to have a data center, and local
        governments have records of all data centers and bitcoin mining operations. But J
        Capital contacted the governments of Wuhai, Inner Mongolia, Zhundong, Xinjiang,
        and Xilinhot, Inner Mongolia. In telephone calls, local government officials of each
        locality told us they had no bitcoin mining operations and had not heard of Bit
        Digital.

        “Big data, crypto currency, cloud computing parks or data centers—none of these
        have registered here,” said an official of Zhundong.

        “There is no bitcoin center here,” said an official of Xilinhot.


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       “There’s no bitcoin center here,” said an official of Wuhai. “I’ve never heard of Bit
       Digital.”

                                          *       *       *

       Fake purchases?

       The company says it has been investing in bitcoin miners and uses these miners to
       mine on behalf of customers: “We will continue to invest in the miners to increase
       the hash rate capacity, as a percentage of total computing power contributed by all
       mining pool participants. Our mining operations are distributed in Xinjiang, Inner
       Mongolia and Sichuan Provinces PRC, and in Nebraska and Texas, United States
       which was newly launched in September 2020.” But how can auditors determine
       whether mining activity is being conducted?

       We spoke with all the major manufacturers in China of bitcoin mining equipment.
       None had heard of BTBT.

       One employee of MicroBT, a Shenzhen-based company from which BTBT
       reported buying 21,713 machines in 2020, told J Capital that BTBT had not
       purchased equipment from them. “I have never heard of Bit Digital,” he said. We
       provided the name of the company’s former VIE with no better result. Three other
       MicroBT employees said they were not permitted to discuss customers.

       Bitmain, from which BTBT said it bought 256 miners in the first nine months of
       2020, drew a blank when we inquired about BTBT. Bitmain supplies roughly 65%
       of the world market for miners and is unlikely not to know of a company that has
       purchased more than 41,000 machines in one year—even if the machines were
       bought second-hand.

       We suspect that the capex spent in the first nine months of 2020--$18.8 mln—was
       simply stolen.

       20.     On this news, Bit Digital’s stock price fell $6.27 per share, or 25%, to close at

$18.76 per share on January 11, 2021, on unusually heavy trading volume.

                               CLASS ACTION ALLEGATIONS

       21.     Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a class, consisting of all persons and entities that purchased

or otherwise acquired Bit Digital securities between December 21, 2020 and January 8, 2021,

inclusive, and who were damaged thereby (the “Class”). Excluded from the Class are Defendants,

the officers and directors of the Company, at all relevant times, members of their immediate

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families and their legal representatives, heirs, successors, or assigns, and any entity in which

Defendants have or had a controlling interest.

        22.       The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, Bit Digital’s shares actively traded on the NASDAQ.

While the exact number of Class members is unknown to Plaintiff at this time and can only be

ascertained through appropriate discovery, Plaintiff believes that there are at least hundreds or

thousands of members in the proposed Class. Millions of Bit Digital shares were traded publicly

during the Class Period on the NASDAQ. Record owners and other members of the Class may be

identified from records maintained by Bit Digital or its transfer agent and may be notified of the

pendency of this action by mail, using the form of notice similar to that customarily used in

securities class actions.

        23.       Plaintiff’s claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

federal law that is complained of herein.

        24.       Plaintiff will fairly and adequately protect the interests of the members of the Class

and has retained counsel competent and experienced in class and securities litigation.

        25.       Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

                  (a)    whether the federal securities laws were violated by Defendants’ acts as

alleged herein;




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               (b)     whether statements made by Defendants to the investing public during the

Class Period omitted and/or misrepresented material facts about the business, operations, and

prospects of Bit Digital; and

               (c)     to what extent the members of the Class have sustained damages and the

proper measure of damages.

       26.     A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

damages suffered by individual Class members may be relatively small, the expense and burden

of individual litigation makes it impossible for members of the Class to individually redress the

wrongs done to them. There will be no difficulty in the management of this action as a class action.

                                UNDISCLOSED ADVERSE FACTS

       27.     The market for Bit Digital’s securities was open, well-developed and efficient at all

relevant times. As a result of these materially false and/or misleading statements, and/or failures

to disclose, Bit Digital’s securities traded at artificially inflated prices during the Class Period.

Plaintiff and other members of the Class purchased or otherwise acquired Bit Digital’s securities

relying upon the integrity of the market price of the Company’s securities and market information

relating to Bit Digital, and have been damaged thereby.

       28.     During the Class Period, Defendants materially misled the investing public, thereby

inflating the price of Bit Digital’s securities, by publicly issuing false and/or misleading statements

and/or omitting to disclose material facts necessary to make Defendants’ statements, as set forth

herein, not false and/or misleading. The statements and omissions were materially false and/or

misleading because they failed to disclose material adverse information and/or misrepresented the

truth about Bit Digital’s business, operations, and prospects as alleged herein.



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       29.     At all relevant times, the material misrepresentations and omissions particularized

in this Complaint directly or proximately caused or were a substantial contributing cause of the

damages sustained by Plaintiff and other members of the Class. As described herein, during the

Class Period, Defendants made or caused to be made a series of materially false and/or misleading

statements about Bit Digital’s financial well-being and prospects. These material misstatements

and/or omissions had the cause and effect of creating in the market an unrealistically positive

assessment of the Company and its financial well-being and prospects, thus causing the

Company’s securities to be overvalued and artificially inflated at all relevant times. Defendants’

materially false and/or misleading statements during the Class Period resulted in Plaintiff and other

members of the Class purchasing the Company’s securities at artificially inflated prices, thus

causing the damages complained of herein when the truth was revealed.

                                       LOSS CAUSATION

       30.     Defendants’ wrongful conduct, as alleged herein, directly and proximately caused

the economic loss suffered by Plaintiff and the Class.

       31.     During the Class Period, Plaintiff and the Class purchased Bit Digital’s securities

at artificially inflated prices and were damaged thereby. The price of the Company’s securities

significantly declined when the misrepresentations made to the market, and/or the information

alleged herein to have been concealed from the market, and/or the effects thereof, were revealed,

causing investors’ losses.

                                  SCIENTER ALLEGATIONS

       32.     As alleged herein, Defendants acted with scienter since Defendants knew that the

public documents and statements issued or disseminated in the name of the Company were

materially false and/or misleading; knew that such statements or documents would be issued or

disseminated to the investing public; and knowingly and substantially participated or acquiesced

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in the issuance or dissemination of such statements or documents as primary violations of the

federal securities laws. As set forth elsewhere herein in detail, the Individual Defendants, by virtue

of their receipt of information reflecting the true facts regarding Bit Digital, their control over,

and/or receipt and/or modification of Bit Digital’s allegedly materially misleading misstatements

and/or their associations with the Company which made them privy to confidential proprietary

information concerning Bit Digital, participated in the fraudulent scheme alleged herein.

                   APPLICABILITY OF PRESUMPTION OF RELIANCE
                       (FRAUD-ON-THE-MARKET DOCTRINE)

       33.     The market for Bit Digital’s securities was open, well-developed and efficient at all

relevant times. As a result of the materially false and/or misleading statements and/or failures to

disclose, Bit Digital’s securities traded at artificially inflated prices during the Class Period. On

January 4, 2021, the Company’s share price closed at a Class Period high of $29.27 per share.

Plaintiff and other members of the Class purchased or otherwise acquired the Company’s securities

relying upon the integrity of the market price of Bit Digital’s securities and market information

relating to Bit Digital, and have been damaged thereby.

       34.     During the Class Period, the artificial inflation of Bit Digital’s shares was caused

by the material misrepresentations and/or omissions particularized in this Complaint causing the

damages sustained by Plaintiff and other members of the Class. As described herein, during the

Class Period, Defendants made or caused to be made a series of materially false and/or misleading

statements about Bit Digital’s business, prospects, and operations. These material misstatements

and/or omissions created an unrealistically positive assessment of Bit Digital and its business,

operations, and prospects, thus causing the price of the Company’s securities to be artificially

inflated at all relevant times, and when disclosed, negatively affected the value of the Company

shares. Defendants’ materially false and/or misleading statements during the Class Period resulted


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in Plaintiff and other members of the Class purchasing the Company’s securities at such artificially

inflated prices, and each of them has been damaged as a result.

       35.     At all relevant times, the market for Bit Digital’s securities was an efficient market

for the following reasons, among others:

               (a)     Bit Digital shares met the requirements for listing, and was listed and

actively traded on the NASDAQ, a highly efficient and automated market;

               (b)     As a regulated issuer, Bit Digital filed periodic public reports with the SEC

and/or the NASDAQ;

               (c)     Bit Digital regularly communicated with public investors via established

market communication mechanisms, including through regular dissemination of press releases on

the national circuits of major newswire services and through other wide-ranging public disclosures,

such as communications with the financial press and other similar reporting services; and/or

               (d)     Bit Digital was followed by securities analysts employed by brokerage

firms who wrote reports about the Company, and these reports were distributed to the sales force

and certain customers of their respective brokerage firms. Each of these reports was publicly

available and entered the public marketplace.

       36.     As a result of the foregoing, the market for Bit Digital’s securities promptly

digested current information regarding Bit Digital from all publicly available sources and reflected

such information in Bit Digital’s share price. Under these circumstances, all purchasers of Bit

Digital’s securities during the Class Period suffered similar injury through their purchase of Bit

Digital’s securities at artificially inflated prices and a presumption of reliance applies.

       37.     A Class-wide presumption of reliance is also appropriate in this action under the

Supreme Court’s holding in Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128 (1972),



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because the Class’s claims are, in large part, grounded on Defendants’ material misstatements

and/or omissions. Because this action involves Defendants’ failure to disclose material adverse

information regarding the Company’s business operations and financial prospects—information

that Defendants were obligated to disclose—positive proof of reliance is not a prerequisite to

recovery. All that is necessary is that the facts withheld be material in the sense that a reasonable

investor might have considered them important in making investment decisions. Given the

importance of the Class Period material misstatements and omissions set forth above, that

requirement is satisfied here.

                                       NO SAFE HARBOR

       38.     The statutory safe harbor provided for forward-looking statements under certain

circumstances does not apply to any of the allegedly false statements pleaded in this Complaint.

The statements alleged to be false and misleading herein all relate to then-existing facts and

conditions. In addition, to the extent certain of the statements alleged to be false may be

characterized as forward looking, they were not identified as “forward-looking statements” when

made and there were no meaningful cautionary statements identifying important factors that could

cause actual results to differ materially from those in the purportedly forward-looking statements.

In the alternative, to the extent that the statutory safe harbor is determined to apply to any forward-

looking statements pleaded herein, Defendants are liable for those false forward-looking

statements because at the time each of those forward-looking statements was made, the speaker

had actual knowledge that the forward-looking statement was materially false or misleading,

and/or the forward-looking statement was authorized or approved by an executive officer of Bit

Digital who knew that the statement was false when made.




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                                          FIRST CLAIM

                      Violation of Section 10(b) of The Exchange Act and
                             Rule 10b-5 Promulgated Thereunder
                                    Against All Defendants

        39.     Plaintiff repeats and re-alleges each and every allegation contained above as if fully

set forth herein.

        40.     During the Class Period, Defendants carried out a plan, scheme and course of

conduct which was intended to and, throughout the Class Period, did: (i) deceive the investing

public, including Plaintiff and other Class members, as alleged herein; and (ii) cause Plaintiff and

other members of the Class to purchase Bit Digital’s securities at artificially inflated prices. In

furtherance of this unlawful scheme, plan and course of conduct, Defendants, and each defendant,

took the actions set forth herein.

        41.     Defendants (i) employed devices, schemes, and artifices to defraud; (ii) made

untrue statements of material fact and/or omitted to state material facts necessary to make the

statements not misleading; and (iii) engaged in acts, practices, and a course of business which

operated as a fraud and deceit upon the purchasers of the Company’s securities in an effort to

maintain artificially high market prices for Bit Digital’s securities in violation of Section 10(b) of

the Exchange Act and Rule 10b-5. All Defendants are sued either as primary participants in the

wrongful and illegal conduct charged herein or as controlling persons as alleged below.

        42.     Defendants, individually and in concert, directly and indirectly, by the use, means

or instrumentalities of interstate commerce and/or of the mails, engaged and participated in a

continuous course of conduct to conceal adverse material information about Bit Digital’s financial

well-being and prospects, as specified herein.

        43.     Defendants employed devices, schemes and artifices to defraud, while in

possession of material adverse non-public information and engaged in acts, practices, and a course

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of conduct as alleged herein in an effort to assure investors of Bit Digital’s value and performance

and continued substantial growth, which included the making of, or the participation in the making

of, untrue statements of material facts and/or omitting to state material facts necessary in order to

make the statements made about Bit Digital and its business operations and future prospects in

light of the circumstances under which they were made, not misleading, as set forth more

particularly herein, and engaged in transactions, practices and a course of business which operated

as a fraud and deceit upon the purchasers of the Company’s securities during the Class Period.

       44.     Each of the Individual Defendants’ primary liability and controlling person liability

arises from the following facts: (i) the Individual Defendants were high-level executives and/or

directors at the Company during the Class Period and members of the Company’s management

team or had control thereof; (ii) each of these defendants, by virtue of their responsibilities and

activities as a senior officer and/or director of the Company, was privy to and participated in the

creation, development and reporting of the Company’s internal budgets, plans, projections and/or

reports; (iii) each of these defendants enjoyed significant personal contact and familiarity with the

other defendants and was advised of, and had access to, other members of the Company’s

management team, internal reports and other data and information about the Company’s finances,

operations, and sales at all relevant times; and (iv) each of these defendants was aware of the

Company’s dissemination of information to the investing public which they knew and/or

recklessly disregarded was materially false and misleading.

       45.     Defendants had actual knowledge of the misrepresentations and/or omissions of

material facts set forth herein, or acted with reckless disregard for the truth in that they failed to

ascertain and to disclose such facts, even though such facts were available to them. Such

defendants’ material misrepresentations and/or omissions were done knowingly or recklessly and



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for the purpose and effect of concealing Bit Digital’s financial well-being and prospects from the

investing public and supporting the artificially inflated price of its securities. As demonstrated by

Defendants’ overstatements and/or misstatements of the Company’s business, operations,

financial well-being, and prospects throughout the Class Period, Defendants, if they did not have

actual knowledge of the misrepresentations and/or omissions alleged, were reckless in failing to

obtain such knowledge by deliberately refraining from taking those steps necessary to discover

whether those statements were false or misleading.

       46.     As a result of the dissemination of the materially false and/or misleading

information and/or failure to disclose material facts, as set forth above, the market price of Bit

Digital’s securities was artificially inflated during the Class Period. In ignorance of the fact that

market prices of the Company’s securities were artificially inflated, and relying directly or

indirectly on the false and misleading statements made by Defendants, or upon the integrity of the

market in which the securities trades, and/or in the absence of material adverse information that

was known to or recklessly disregarded by Defendants, but not disclosed in public statements by

Defendants during the Class Period, Plaintiff and the other members of the Class acquired Bit

Digital’s securities during the Class Period at artificially high prices and were damaged thereby.

       47.     At the time of said misrepresentations and/or omissions, Plaintiff and other

members of the Class were ignorant of their falsity, and believed them to be true. Had Plaintiff

and the other members of the Class and the marketplace known the truth regarding the problems

that Bit Digital was experiencing, which were not disclosed by Defendants, Plaintiff and other

members of the Class would not have purchased or otherwise acquired their Bit Digital securities,

or, if they had acquired such securities during the Class Period, they would not have done so at the

artificially inflated prices which they paid.



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        48.     By virtue of the foregoing, Defendants violated Section 10(b) of the Exchange Act

and Rule 10b-5 promulgated thereunder.

        49.     As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and the

other members of the Class suffered damages in connection with their respective purchases and

sales of the Company’s securities during the Class Period.

                                        SECOND CLAIM

                         Violation of Section 20(a) of The Exchange Act
                               Against the Individual Defendants

        50.     Plaintiff repeats and re-alleges each and every allegation contained above as if fully

set forth herein.

        51.     Individual Defendants acted as controlling persons of Bit Digital within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their high-level

positions and their ownership and contractual rights, participation in, and/or awareness of the

Company’s operations and intimate knowledge of the false financial statements filed by the

Company with the SEC and disseminated to the investing public, Individual Defendants had the

power to influence and control and did influence and control, directly or indirectly, the decision-

making of the Company, including the content and dissemination of the various statements which

Plaintiff contends are false and misleading. Individual Defendants were provided with or had

unlimited access to copies of the Company’s reports, press releases, public filings, and other

statements alleged by Plaintiff to be misleading prior to and/or shortly after these statements were

issued and had the ability to prevent the issuance of the statements or cause the statements to be

corrected.

        52.     In particular, Individual Defendants had direct and supervisory involvement in the

day-to-day operations of the Company and, therefore, had the power to control or influence the


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particular transactions giving rise to the securities violations as alleged herein, and exercised the

same.

        53.    As set forth above, Bit Digital and Individual Defendants each violated Section

10(b) and Rule 10b-5 by their acts and omissions as alleged in this Complaint. By virtue of their

position as controlling persons, Individual Defendants are liable pursuant to Section 20(a) of the

Exchange Act. As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and

other members of the Class suffered damages in connection with their purchases of the Company’s

securities during the Class Period.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff prays for relief and judgment, as follows:

        (a)    Determining that this action is a proper class action under Rule 23 of the Federal

Rules of Civil Procedure;

        (b)    Awarding compensatory damages in favor of Plaintiff and the other Class members

against all defendants, jointly and severally, for all damages sustained as a result of Defendants’

wrongdoing, in an amount to be proven at trial, including interest thereon;

        (c)    Awarding Plaintiff and the Class their reasonable costs and expenses incurred in

this action, including counsel fees and expert fees; and

        (d)    Such other and further relief as the Court may deem just and proper.

                                  JURY TRIAL DEMANDED

        Plaintiff hereby demands a trial by jury.




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                           SWORN CERTIFICATION OF PLAINTIFF


        Bit Digital Inc., SECURITIES LITIGATION

I,           Anthony Pauwels                           , certify:

        1.    I have reviewed the complaint and authorized its filing and/or adopted its allegations.

        2.    I did not purchase Bit Digital Inc., the security that is the subject of this action at the
              direction of plaintiff’s counsel or in order to participate in any private action arising
              under this title.

        3.    I am willing to serve as a representative party on behalf of a class and will testify at
              deposition and trial, if necessary.

        4.    My transactions in Bit Digital Inc., during the class period set forth in the Complaint
              are as follows:

                  See Attached Transactions

        5.    I have not served as a representative party on behalf of a class under this title during
              the last three years except as stated:

        6.    I will not accept any payment for serving as a representative party, except to receive
              my pro rata share of any recovery or as ordered or approved by the court including
              the award to a representative plaintiff of reasonable costs and expenses (including
              lost wages) directly relating to the representation of the class.

                     ⁭ Check here if you are a current employee or former employee of the
                  defendant Company.

                  I declare under penalty of perjury that the foregoing are true and correct
                  statements.


       1/16/2021
Dated: ________________                       ____________________________________________
                                                Anthony Pauwels
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       Anthony Pauwels's Transactions in Bit Digital Inc. (BTBT)
        Date     Transaction Type      Quantity        Unit Price
      12/31/2020     Bought                   1,000          $21.81
